                  EXHIBIT 1
SCREEN CAPTURE SHOWING ALTERED PRODUCT LISTING
       EXHIBIT 2
EMAIL TO VOX NUTRITION
                                                           EXHIBIT 3
URGENT MESSAGE



                                      URGENT MESSAGE


 Car·tel /kärˈtel/

       Noun
       noun: cartel; plural noun: cartels
              an association of manufacturers or suppliers with the purpose of maintaining prices at a high level and
              restricting competition.
              "the Colombian drug cartels"

We are writing to the good people of Amazon because we feel it is our duty as citizens to inform you that there is currently an
organization of federal criminals operating in a cartel like fashion selling dietary supplements. The leader of this
organization is Kevin Alex Thobias, a known “bully” on the Amazon.com platform, but much more significant, a sociopath who
manipulates others to join him on his reckless path of a possible VERY dangerous event taking place. This cartel has many
intricacies in which we are certain Amazon will identify and verify with ease once this message is read.

Out of our grave concern and fear that thousands of Amazon.com buyers will be severely injured or even ingest a product that
is fatally “manufactured” by these individuals, we are writing to you in such a desperate manner to ensure that it is stopped at
once. We are aware that obtaining the ability to sell dietary supplements on the Amazon.com platform is a privilege that
Amazon only allows those who are properly vetted to have. Because of these gentlemen’s criminal backgrounds, they could
not obtain the ability in a conventional manner. Unfortunately, we have learned that go get around this, they utilized their
criminal ways to falsify and/or forge federal documents that they would then submit to Amazon’s category approval team and
become approved to sell in this category. Amazon.com is being dealt these fabricated unverified documents and is
granting convicted federal criminals who do not have ANY qualifications to sell products that are ingested by
Amazon.com’s buyers the ability to sell them on a GRAND level.

If this previous sentence does not scare you in the worst manner out of fear that they are capable of such crimes, we are
willing to even go so far as to say that these individuals will harm a great deal of people at some point. Not only is it in their
nature to act in a criminal manner, but they have proven to the United States Judicial System that they do not have any
respect for the law or the wellbeing of others.

Could you imagine a more dangerous combination of factors when it comes to the safety of the products that are being sold
on the platform? We beg of you, please, investigate this matter on a 911 basis to verify that all that is being said to you is
in fact the complete truth. We fear that any time wasted is potential time in which that “defective batch” of supplements that
one of them made themselves is checked into FBA already and currently stands as one of the top selling products in that
subcategory. Due to the massive scale of this operation, when these criminals do make a mistake, we can assure you that
you will learn of it not by one phone call, but by an avalanche of reports flying in all at once. Of course, this will be a
nightmare for your company. But for those of us who have knowledge of exactly what is happening, we will be filled with
extreme guilt and unexplainable grief that we had not acted sooner. Do not let this notice fall on deaf ears. It will be the most
irresponsible act that could ever take place by a company of Amazon’s magnitude in all of history.

We would never be so ignorant as to write to you making such dire claims and requests for you investigate these matters
without providing you with precise proof that not only gives our claims the credibility that they deserve, but allows
Amazon.com to take the action that we are certain you will take once you easily verify that this urgent threat to Amazon’s
buyers is indeed as serious and real as we are screaming from the hilltops about. Below, we will begin to paint a picture of
the type of criminals that we are describing who currently, right now, are being allowed to distribute dietary supplements by
the truckloads with Amazon.com allowing them to game the category approval process and grant them this privilege that
should be taken very seriously.

Kevin Thobias makes this all possible. He is the main organizer of all operations. The owner of the majority of the Wyoming
entities that he is able to hide behind in his criminal tactful manner by utilizing his knowledge of the state of Wyoming’s
policies regarding the right’s that this state issues entities, along with a registered agent. When you review the accounts that
we supply you, you will begin to find a very strange coincidence of how every entity just happens to be structured in the same
manner. If you were to select 30 random Amazon accounts, there is a 0% chance of the same event occurring. That means
that this one minute factor shows that it is impossible for these “random” accounts to be structured in the same manner. This
correlation is not something we would even encourage you to attempt to link the accounts. There is far greater proof.

Kevin poses as a “consultant.” This is 100% false, as he is a liar and has never consulted a day in his life. He does not own a
consulting company. He does not have any clients. He cannot supply one legitimate paid invoice for any of his “consulting
services.” We will touch further on this after we expose to you who is currently dispensing who knows what to Amazon’s
buyers. One point that we would like to make abundantly clear in hopes that Amazon understands something very important:
Kevin Thobias is the ringleader of this entire criminal enterprise. These other criminals are pawns, who are
dangerous, yes, but not capable of operating independently.



The Leader




Name: Kevin Alex Thobias
Summary: This is an evil man who operates literally countless Amazon seller accounts on the platform selling all of the same
dietary supplement products, but printing different labels in hopes to provide Amazon buyers with the illusion of choice. On
the 16th day of March, 2016 Kevin Alex Thobias was arrested on Dyess Air Force Base and charged with what he has
accomplished to get sealed federal crimes. The address in which he was arrested at is: 4010 COUGAR WAY ABILENE, TX
79606. He was held on the Air Force Base for twelve days and then handed over to the proper law enforcement agency. He
would be denied bail until the 26th day of April 2016. Here are some additional details of his arrest.

Booking Number:       089511
SO Number:            114890
Charge:              FEDERAL
Arresting Agency:     Dyess Air Force Base

After his legal battle in the Criminal Federal Courts of The United States, where does he turn his sights to? Amazon.com to
sell dietary supplements, as he had observed others located at the same location do in a non-compliant manner.
 Amazon.com is the largest company in the entire country. Responsible for essentially inventing and revolutionizing cloud
computing in AWS’s early days, to machine learning, business applications, robotics and biometric technology that is so
robust that is has the United States government interested in utilizing it, it is safe to say that Amazon.com is equipped with the
most advanced technology on the planet. Perhaps soon, even on an additional planet. So, please, when an address is
provided to you, we ask that you search it through your internal databases and verify what we are saying with all the
confidence in the world and with minimal effort. We urge you to run the above address and find the various accounts that
this address is linked to. This is the beginning of what we will be supplying as undeniable proof that every single one of these
accounts are part of a much larger ring of a deceptive and dishonest cartel that has been growing at an extremely fast pace.
 Mr. Thobias utilized his personal information on the following account that Amazon has issued brand level gating to:

Merchant ID: A3GAX5OEA60SZS
Store name: Better Mornings LLC
Email:     Kevin@nutragroup.org




The Mad Chemist
This man's name is Gurpreet Singh. He utilizes the first name “Gary.” This man does not have the “bigger picture” mindset
that his sociopath leader does, but his value that he brings to the cartel, is his ability to source almost any supplements and/or
any other substance once could want. This is where things begin to become very dangerous very quickly. As it appears to be
a requirement for any member wishing to work with Kevin Thobias, Gurpreet Singh went out and aimed for the stars with his
felony records.

“Gurpreet Singh (“Singh”) was convicted in Elkhart Superior Court of three counts of Class D felony dealing in a
synthetic drug or a synthetic drug lookalike and three counts of Class D felony money laundering.”

- Court of Appeals of Indiana | Memorandum Decision 20A04-1508-CR-1097 | June 27, 2016

The combination of these two alone working together to sell dietary supplements on the Amazon.com platform should make
any logical human being extremely uneasy. We have a man who was kicked out of the United States Air Force when arrested
for a federal crime who has learned how to create Amazon accounts at will and obtain Amazon’s permission to sell dietary
supplements by forging and/or falsifying FDA documents --- Who then forms ties with a man convicted of six felonies -- 3
of which are related to the sale of synthetic drugs. We do not even know how to follow up on this fact. It is beyond mind
blowing that this is occuring. Is it not abundantly clear that these criminals simply took their criminal mindsets and skill sets
and applied them to selling on Amazon?

Instead of selling synthetic drugs, Gary decided that he was not a fan of felonies, so he would just utilize the methods that his
mentor, Kevin Thobias would show him of creating accounts and manipulating Amazon’s category approval process by
submitting falsified FDA documents. Hard evidence is what is needed here to thoroughly eliminate this cartel and irrefutable
evidence is what you are to receive. Gary’s information can be located on the following account:

Merchant ID: A3NGX287ETIXTT
Store Name: Vital Nutrition LLC
Email:       Vitalnutritionllc@gmail.com

Please, check the addresses listed on that account. You will be shocked to find that Gurpreet (Gary) Singh lists the same
exact location on this account that Kevin Thobias resided and was arrested at:


4010 COUGAR WAY ABILENE, TX 79606
In addition to this, Gary was operating under the entity, “Prime Labs LLC”. “Prime Labs” is a brand that Amazon issued brand
level gating. The account in which this is located: Better Mornings LLC - The one account where Kevin Thobias has listed his
personal information. It is no surprise that you will find the same address on this account as well. We are on a mission here to
attempt to ensure that these criminals do not have the ability to conduct their operation any further. We are spoon feeding
Amazon.com every detail needed to link all of these accounts with ease. We can run the ball the 1st yard line. All Amazon
has to do is step in the end-zone. This is not a personal issue. This is not a competitor issue. This is an issue that warrants
the highest level of authorities within Amazon stepping in and putting an end to this. At one point, it seemed that they did. But
for some remarkably strange reason, Amazon unleashed the cartel back onto the platform. More to come on that.

We will list an abundance of accounts below that are all part of the Thobias Cartel. We are certain that we do not have the
ability to locate and report ALL of their accounts. We ask that once you verify all that we are stating is indeed true and you
take action on all of the actions that you confirm are indeed linked that you utilize your robust technology to get the rest of
them. Here are a few more that will further show the caliber of people that are involved in this organization.

An entity named “KSG Brands” registered in the state of Wyoming has three organizers:

               1. Sean Ceruti
               2. Gavin Joseph Charles Bridegeforth
               3. Kevin Alex Thobias

Name: Sean Ceruti
Merchant ID: A105K3OBFCS85D
Store Name: Healing Essentials

Sean Ceruti and Gavin Bridgeforth entered a contract in which they were given 1.38 million for "various" business ventures.
They failed to carry out their duties as set forth in the agreement. As a result of their failure, they were sued in the State of
Florida by the investor for the total amount provided plus damages and attorney's fees. Scam artist -- account linked to Kevin
Thobias.



Name: Island Breeze LLC
Merchant ID: A2VAZLBYJA70FT
Store Name: Brute Nutrition
A very well known associate and assistant to Kevin Thobias, Spencer Miles Simpson, is among the sickest individuals in the
organization. This man is a registered sex offender in the state of Utah.

“Offense/Statute:21.11(a)(2) - Indecency With A Child/contact”

The only thing we will add here, as the infamous tales go, is a: “?”

You can find this monster in the buyer seller messaging of Brute Nutrition and on Triple House Deals. Unreal.

The list goes on and on. We do not feel the need to identify every criminal that is involved in the Thobias Cartel. Our only
desire is to ensure the safety of Americans who are purchasing dietary supplements on the Amazon platform. You will find the
rest of the accounts that we know of below.

Ed Rosenberg
28th day of March 2019, Mr. Thobias receives a call from we all know who. He doesn't take it seriously, so this gentleman
wipes out the majority of his accounts. April Fools Day 2019, seven accounts that Mr. Thobias is the majority if not full owner
of, operates & profits significantly from are actually reinstated. All of the bright minds that have made history time and time
again --- are not capable of seeing what is so clearly laid out for them? This is very hard to believe. It's actually not believed
at all, which raises very scary questions about who Amazon is, what do they stand for and where do they fit in today's world?

We do not have much more to say. What sort of insanity goes on behind closed doors? Secret hand shaking company -- Ed
Rosenberg makes a phone call and it is as if he has a magic wand? "Ed Rosenberg Escalation." What a joke. Clearly,
though, an Ed Rosenberg Escalation is much more effective than a Jeff B escalation. Ed gets hired and paid by Kevin
Thobias and resolved this matter in one day. "Newfound evidence" - right? Right. There is a profusion of information at our
fingertips that we could provide here, but it is not our intention to muddy the waters. We have made it clear over and over
again -- our only goal right now has to be protecting Amazon buyers from buying dietary supplements from convicted felons
who are nowhere near qualified to handle this responsibility. Nevertheless, they most certainly are not capable of doing to
across the mountain of accounts that they do so. We beg Amazon to please investigate thoroughly what we are
assisting you with. Get these criminals off of the platform before they end up killing hundreds, if not thousands of
people.



                                     THE THOBIAS CARTEL
         MCID                               Store Name
   A3GAX5OEA60SZS                      Better Mornings LLC
   A1QNWPBK37UFUS                     Keto's Finest Products
    A2VC2HXI5KGFH1                Reliable Solutions Warehouse
     A8FM6VJSKTX7I                      Vital Supplements
    A3CLVXE6CFV5RF                       Titan Wholesaler
    A3V1B407XWIES4                          Quality Keto
   A2RGPDT76Z04CR                  Elegant Essentials Nutrition
   A2E3GV6KXCEK6E                       Prime Driven Store
   A3MPMXXVEZ1OYQ                       Cutting Edge Labs
   A1QR4QNLCZ7D53                       Northstar Naturals
     AWNK92702B2FT                    Quality Nutrition Store
    A1ZP9SGE1TB8EV                          JB Naturals
    A2BT1V547ATLAJ                 Triad Wellness and Nutrition
   A2G12TUAIYUOM0                    Healthy Life Necessities
   AR3KKMWR15ERM                       JayB3 Nutrition LLC
   AG3BMQMUA5RR4                       Scottsdale Vitamins
    A15D4T0IL92UMR                       Keto Wholesale
    AE1FFF96NMG93                       Invictus Labs LLC
    A4X6TB0DC2NX6                       VitaCore Nutrition
    A3NGX287ETIXTT                      Vital Nutrition LLC
    A2VAZLBYJA70FT                        Brute Nutrition
   A1OMKLREDK8ADI                       Nature’s Goodwill
  A1TKHVWBCO49VZ                Quality Nutritional
   AM5BRDP6BFPO6                 Fit Rich Lifestyle
    AI85OTS8AW786          Essence Wellness and Beauty
  A3A1WKRPEDFAJF          Natural Wellness and Health LLC

  AUFG9LNBWO3G4                  Triple House Deals
   AQ7TC6CSW945M                   Quality Nutrition
    AWHX78RTF0BFI               Ketogenix Labs, LLC
  A2Y1KD6JEZFSME                    Raw_Nutrition
   A1DHPCIIWV4D05                   Envy Nutrition
   A301DL72WIBHA6                  Ancient Strength
  A1KICPKVVKON2U             Vital Organics Warehouse
   A16T3E4ZRT9O1R                      By Hans
  A1DSNG8OK8H8U1                       FedLife
  A18112FDCMHBD9                 Hurricane Nutrition
   A24JKYSY5JGY4Q              Supplements Forever
   AKHFTRGMI4K8P             Wholesome Health Foods
   A1UXQ07O69729K                 Quality Sales Co
  A1RV6T7S85HWP0                   YourMerchNow
  A1MR70GDGZMD9Z                      NutriTrend
   ABZQYY6SYX6AM                    Hard Iron Labs
  A21M50PPTVTKN0                   Amazing Basics
  A1SUZXRH20EQFB                 Health Begins Here
  A105K3OBFCS85D                 Healing Essentials


Forged and/or Falsified FDA Documents
Gurpreet Singh v. State of Indiana
Kevin Thobias Jail Record
Gurpreet Singh Arrested in Synthetic Drug Ring
Gurpreet Singh Arrested on Felony Charges
KSG Brands - Thobias, Ceruti, Bridgeforth
Spencer Miles Simpson (Triple House Deals) - Registered Sex Offender
Monterey Capital v. Ceruti; Bridgeforth



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